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                                                                                  1 of 20
 Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Southern                  District of   New York
                                             (State)
     Case number (If known):                                    Chapter                                                                           Check if this is an
                                                                                                                                                  amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                    04/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.    Debtor’s name                          New Cotai Ventures, LLC


2.    All other names debtor used             N/A
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names



3.    Debtor’s federal Employer
                                              2 0 - 4            7 2 9 3          8    5
      Identification Number (EIN)


                                                                                                               Mailing address, if different from principal
4.    Debtor’s address                                 Principal place of business                             place of business

                                                       Two Greenwich Plaza, First Floor
                                                       Number        Street                                    Number      Street



                                                                                                               P.O. Box


                                                       Greenwich, CT                              06830
                                                       City          State                       ZIP Code      City                            State       ZIP Code


                                                                                                               Location of principal assets, if different from
                                                       Fairfield County                                        principal place of business
                                                       County


                                                                                                               Number      Street




                                                                                                               City                            State       ZIP Code

5.    Debtor’s website (URL)                           N/A

                                                              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.    Type of debtor                                          Partnership (excluding LLP)
                                                              Other. Specify:



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               New Cotai Ventures, 1 Filed 05/01/19                 Entered 05/01/19 17:17:46      Main
                                                                                      Case number (if known)
                                                                                                             Document                        Pg
             Name                                                       2 of 20
                                        A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above.

                                        B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)1
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                        See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                            5      2     3      9

8.    Under which chapter of the        Check one:
      Bankruptcy Code is the               Chapter 7
      debtor filing?                       Chapter 9
                                           Chapter 11. Check all that apply:
                                                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                          affiliates) are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3
                                                          years after that).
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is
                                                          a small business debtor, attach the most recent balance sheet, statement of operations,
                                                          cash-flow statement, and federal income tax return or if all of these documents do not
                                                          exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                          in accordance with 11 U.S.C. § 1126(b).
                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                          Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                          for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                          12b-2.
                                           Chapter 12


9.    Were prior bankruptcy cases           No
      filed by or against the debtor
                                                                                                                   Case
      within the last 8 years?              Yes.   District                                When                    number
      If more than 2 cases, attach a                                                              MM / DD / YYYY
      separate list.                                                                                               Case
                                                   District                                When                    number
                                                                                                  MM / DD / YYYY


10.   Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.   Debtor     see attached Annex 1                           Relationship   Affiliate Debtor
      affiliate of the debtor?                                Southern District of New York                                 Date hereof
                                                   District                                                  When
      List all cases. If more than 1,              Case number, if known                                                    MM / DD / YYYY
      attach a separate list.




1
 Debtor is exempt from registration as an Investment Company pursuant to Section 3(c)(7) of the Investment Company Act of 1940.
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                                                                                   Case number (if known)
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            Name                                                     3 of 20

11.   Why is the case filed in this   Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                    Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.


                                                   What is the hazard?

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                    Other



                                              Where is the property?
                                                                            Number        Street




                                                                            City                                          State      ZIP Code



                                              Is the property insured?

                                                    No
                                                    Yes. Insurance agency

                                                         Contact name

                                                         Phone




             Statistical and administrative information




13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                          1-49                               1,000-5,000                              25,001-50,000
14.   Estimated number of
                                          50-99                              5,001-10,000                             50,001-100,000
      creditors
                                          100-199                            10,001-25,000                            More than 100,000
                                          200-999




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Debtor     19-22910       Doc LLC
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                                                                                       Case number (if known)
                                                                                                              Document                              Pg
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                                              $0-$50,000                           $1,000,001-$10 million                       $500,000,001-$1 billion
15.   Estimated assets
                                              $50,001-$100,000                     $10,000,001-$50 million                      $1,000,000,001-$10 billion
                                              $100,001-$500,000                    $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                              $500,001-$1 million                  $100,000,001-$500 million2                   More than $50 billion



                                              $0-$50,000                           $1,000,001-$10 million                       $500,000,001-$1 billion
16.   Estimated liabilities                   $50,001-$100,000                     $10,000,001-$50 million                      $1,000,000,001-$10 billion
                                              $100,001-$500,000                    $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                              $500,001-$1 million                  $100,000,001-$500 million                    More than $50 billion


            Request for Relief, Declaration, and Signatures

WARNING        --   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000
                    or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                                    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
                                                     thispetition.
17.     Declaration and signature of                I have been authorized to file this petition on behalf of the debtor.
        authorized representative of                I have examined the information in this petition and have a reasonable belief that the information is true
        debtor                                       and correct.

                                              I declare under penalty of perjury that the foregoing is true and correct.




                                              Executed on   05/01/2019
                                                            MM / DD / YYYY

                                                 /s/ David Reganato                                         David Reganato
                                              Signature of authorized representative of debtor              Printed name



                                              Title Authorized Signatory



18.   Signature of attorney                      /s/ Jay M. Goffman                                        Date        05/01/2019
                                              Signature of attorney for debtor                                          MM / DD / YYYY

                                             Jay M. Goffman
                                             Printed name

                                             Skadden, Arps, Slate, Meagher & Flom LLP
                                             Firm name

                                              Four Times Square
                                             Number         Street


                                              New York                           NY              10036
                                              City                               State           Zip Code


                                             (212) 735-3000                                                     jay.goffman@skadden.com
                                             Contact phone                                                      Email address

                                              1911239                                                           NY
                                             Bar number                                                         State




2
 “Estimated assets” amount determined in accordance with U.S. GAAP and does not necessarily represent the amount that may ultimately be realized on
account of such assets.
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                                               Annex 1

                                     SCHEDULE OF DEBTORS

       On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code. Substantially contemporaneously with the filing of these petitions, these entities
filed a motion requesting that their respective chapter 11 cases be jointly administered for
procedural purposes only.

                                                                      Employer Identification
                                   Debtor
                                                                         Number (EIN)
1.    New Cotai Ventures, LLC                                              XX-XXXXXXX
2.    New Cotai Holdings, LLC                                                XX-XXXXXXX
3.    New Cotai, LLC                                                         XX-XXXXXXX
4.    New Cotai Capital Corp.                                                XX-XXXXXXX




1739939.01-NYCSR03A - MSW
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 Fill in this information to identify the case:


Debtor name                 New Cotai Holdings, LLC, et al.

United States Bankruptcy Court for the:      Southern              District of   New York                                         Check if this is
                                                                                 (State)                                       an amended filing

Case number (If known):




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
 Largest Unsecured Claims and Are Not Insiders                                                                                                  12/15

 Set forth below is a list of creditors holding the twenty (20) largest unsecured claims against the Debtors, as of April 29, 2019.
 This list has been prepared on a consolidated basis, based upon the books and records of the Debtors, and in accordance with
 Bankruptcy Rule 1007(d), for filing in the Debtors' chapter 11 cases. This list does not include (1) persons who come within the
 definition of "insider" set forth in section 101 of the Bankruptcy Code, (2) secured creditors, or (3) claims held by the Debtors'
 employees.

 The information presented in the list below shall not constitute an admission of liability by, nor is binding on, the Debtors and the
 failure to list a claim as contingent, disputed or subject to set off shall not be a waiver of any of the Debtors' rights relating
 thereto.

Name of creditor and complete       Name, telephone number, and email       Nature of the    Indicate if     Amount of unsecured claim
mailing address, including zip      address of creditor contact             claim            claim is        If the claim is fully unsecured, fill in only
code                                                                        (for example,    contingent,     unsecured claim amount. If claim is
                                                                            trade debts,     unliquidated,   partially secured, fill in total claim
                                                                            bank loans,      or disputed     amount and deduction for value of
                                                                            professional                     collateral or setoff to calculate
                                                                            services, and                    unsecured claim.
                                                                            government                        Total           Deduction
                                                                            contracts)                        Claim, if       for value of Unsecured
                                                                                                              partially       collateral       Claim
                                                                                                              secured         or setoff
     Wells Fargo Bank, National     Wells Fargo Bank, National              10.625% Senior                                                 $856,000,000
     Association, as Indenture      Association                             Pay-In-Kind
     Trustee to the 10.625%         707 Wilshire Boulevard, 17th Floor      Notes due 2019
     Senior Pay-In-Kind Notes due   Los Angeles, CA 90017
     2019
1.                                  Attention: Corporate Trust
                                    Department, Barry Somrock
                                    Phone: 612-667-8485
                                    Fax: (213) 614-3355
                                    Email:
                                    barry.d.somrock@wellsfargo.com
     PricewaterhouseCoopers LLP     PricewaterhouseCoopers LLP              Professional                                                       $127,500
                                    P.O. Box 7247-8001, Philadelphia, PA    Services
                                    19170-8001
2.
                                    Attention: Anthony Arrigo
                                    Phone: 646-471-0156
                                    Email: anthony.arrigo@pwc.com




     Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 1
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     Debtor New    Cotai Holdings, LLC, et al.                                       Case Number (if known)



Name of creditor and complete        Name, telephone number, and email     Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip       address of creditor contact           claim           claim is        If the claim is fully unsecured, fill in only
code                                                                       (for example,   contingent,     unsecured claim amount. If claim is
                                                                           trade debts,    unliquidated,   partially secured, fill in total claim
                                                                           bank loans,     or disputed     amount and deduction for value of
                                                                           professional                    collateral or setoff to calculate
                                                                           services, and                   unsecured claim.
                                                                           government                       Total           Deduction
                                                                           contracts)                       Claim, if       for value of Unsecured
                                                                                                            partially       collateral       Claim
                                                                                                            secured         or setoff
     SS&C Technologies, Inc.         SS&C Technologies, Inc.               Professional                                                    $56,541.13
                                     One South Road, Harrison, NY 10528    Services

3.                                   Attention: Billing Department
                                     Phone: 914-670-3600
                                     Fax: 914-670-3607
                                     Email: Billing.Citi@sscinc.com
     Kekst and Company               Kekst and Company Incorporated        Professional                                                    $15,372.23
     Incorporated                    437 Madison Avenue 37th Floor, New    Services
                                     York, NY 10022

4.                                   Attention: NYC Accounting
                                     Department
                                     Phone: 212-521-4800
                                     Fax: 212-521-4900
                                     Email: accounting.nyc@kekstcnc.com
     Union Gaming Securities LLC     Union Gaming Securities LLC           Professional                                                    $10,000.00
                                     3930 Howard Hughes Pkwy, Ste 230      Services
                                     Las Vegas, NV 89169
5.
                                     Attention: Mike Glynn
                                     Phone: 702-866-0749
                                     Email: mike.glynn.uniongaming.com
     Conyers Dill and Pearman -      Conyers Dill and Pearman – HK         Professional                                                      $7,989.20
     HK                              29th Floor One Exchange Square, 8     Services
                                     Connaught Place, Central, Hong Kong
6.
                                     Attention: David Lamb
                                     Phone: 852-2524-7106
                                     Fax: 852-2845-9268
                                     Email: David.Lamb@conyersdill.com
     Ropes & Gray, LLP               Ropes & Gray, LLP                     Professional                                                      $7,427.23
                                     800 Boylston Street, Boston, MA,      Services
                                     02199-3600
7.
                                     Attention: P. Welsh
                                     Phone: 617-951-7865
                                     Fax: 617-951-7050
                                     Email: pwelsh@ropesgray.com
     Wells Fargo Bank                Wells Fargo Bank                      Professional                                                      $7,100.00
                                     WF 8113 P.O. Box 1450, Minneapolis,   Services
                                     MN 55485-8113
8.
                                     Attention: Barry Somrock
                                     Phone: 612-667-8485
                                     Email:
                                     barry.d.somrock@wellsfargo.com




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      Debtor New         Cotai Holdings, LLC, et al.                                   Case Number (if known)



Name of creditor and complete        Name, telephone number, and email       Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip       address of creditor contact             claim           claim is        If the claim is fully unsecured, fill in only
code                                                                         (for example,   contingent,     unsecured claim amount. If claim is
                                                                             trade debts,    unliquidated,   partially secured, fill in total claim
                                                                             bank loans,     or disputed     amount and deduction for value of
                                                                             professional                    collateral or setoff to calculate
                                                                             services, and                   unsecured claim.
                                                                             government                       Total           Deduction
                                                                             contracts)                       Claim, if       for value of Unsecured
                                                                                                              partially       collateral       Claim
                                                                                                              secured         or setoff
      Walkers                        Walkers                                 Professional                                                      $6,555.84
                                     190 Elgin Avenue, George Town,          Services
                                     Grand Cayman KY1-9001, Cayman
                                     Islands
9.
                                     Attention: Kimberly Ebanks
                                     Phone: 345-949-0100
                                     Fax: 345-949-7886
                                     Email:
                                     Kimberley.Ebanks@walkersglobal.com
      CorpM Limited                  CorpM Limited                       Professional                                                          $6,223.30
                                     Avenida da Praia Grande, 409, China Services
                                     Law Building, 21/F and 23/F A-B,
                                     Macau
10.
                                     Attention: Rui Pinto Proenca
                                     Phone: 853-2833-3332
                                     Fax: 853-2833-3331
                                     Email: rpp@mdme.com.mo
      2NT8 Limited                   2NT8 Limited                         Professional                                                         $5,000.00
                                     4/F Wai Lam House, 12 Lan Kwai Fong, Services
                                     Central, Hong Kong
11.
                                     Attention: Alidad Tash
                                     Phone: 852-5196-2211
                                     Email: alidad@2nt8.com
      Intralinks, Inc.               Intralinks, Inc.                        Trade Debt                                                        $4,500.00
                                     1372 Broadway, 11th Floor, New York,
                                     NY 10018
12.
                                     Attention: Billing Department
                                     Phone: 212-342-7676
                                     Email: Billing@Intralinks.com
      Richards Kibbe & Orbe LLP      Richards Kibbe & Orbe LLP               Professional                                                      $3,021.75
                                     200 Liberty Street, New York, NY        Services
                                     10281-1003
13.
                                     Attention: C. Mueller
                                     Phone: 212-530-1800
                                     Fax: 212-530-1801
                                     Email: cmueller@rkollp.com
      DF King & Co., Inc.            DF King & Co., Inc.                     Professional                                                      $2,968.78
                                     48 Wall Street 22 Floor, New York, NY   Services
                                     10005

14.                                  Attention: DFK Accounts Receivable
                                     Phone: 212-269-5550
                                     Email:
                                     DFKAccountsReceivable@astfinancial.
                                     com




      Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                  page 3
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      Debtor New      Cotai Holdings, LLC, et al.                                  Case Number (if known)



Name of creditor and complete      Name, telephone number, and email     Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip     address of creditor contact           claim           claim is        If the claim is fully unsecured, fill in only
code                                                                     (for example,   contingent,     unsecured claim amount. If claim is
                                                                         trade debts,    unliquidated,   partially secured, fill in total claim
                                                                         bank loans,     or disputed     amount and deduction for value of
                                                                         professional                    collateral or setoff to calculate
                                                                         services, and                   unsecured claim.
                                                                         government                       Total           Deduction
                                                                         contracts)                       Claim, if       for value of Unsecured
                                                                                                          partially       collateral       Claim
                                                                                                          secured         or setoff
      Ernst & Young US LLP         Ernst & Young US LLP                  Professional                                                      $2,294.00
                                   200 Plaza Drive, Secaucus, NJ 07094   Services

15.                                Attention: Alexander Soures
                                   Phone: 212-773-2584
                                   Fax: 866-240-5838
                                   Email: alexander.soures@ey.com
      Iron Mountain                Iron Mountain                         Professional                                                      $1,030.56
                                   1000 Campus Drive, Collegeville, PA   Services
                                   19426

16.                                Attention: Customer Service
                                   Phone: 800-934-3453
                                   Email:
                                   askcustomerservice@ironmountain.co
                                   m
      Hogan Lovells US LLP         Hogan Lovells US LLP               Professional                                                           $769.47
                                   Columbia Square 555 Thirteenth     Services
                                   Street NW, Washington, DC 20004-
                                   1109
17.
                                   Attention: Bibi Majeed
                                   Phone: 202-637-5600
                                   Fax: 202-637-5910
                                   Email: bibi.majeed@hoganlovells.com
      Verizon Wireless             Verizon Wireless                      Trade Debt                                                           $61.15
                                   P.O. Box 489
18.
                                   Newark, NJ 07101-0489
                                   Phone: 800-922-0204
      Vonage Business              Vonage Business                       Trade Debt                                                           $49.32
19.                                P.O. Box 392415
                                   Pittsburgh, PA 15252-9415
      Verizon                      Verizon                               Trade Debt                                                           $45.72
                                   P.O. BOX 15124, Albany, NY 12212-
                                   5124
20.

                                   Attention: Customer Service
                                   Phone: 800-897-4966




      Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                page 4
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SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Jay M. Goffman
Mark A. McDermott
Evan A. Hill
Four Times Square
New York, New York 10036-6522
Telephone: (212) 735-3000
Fax: (212) 735-2000

Proposed Counsel to Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                  Chapter 11

NEW COTAI HOLDINGS, LLC, et al.,                                       Case No. 19-[●] ([●])

                 Debtors.1                                             (Joint Administration Pending)


                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York, New

Cotai Holdings, LLC, and certain of its affiliates (collectively, the “Debtors,” the “Company,”

or “New Cotai”), as debtors and debtors in possession in the above-captioned chapter 11 cases,

respectfully represent that as of the Petition Date:

        1.       None of the Debtors are publicly traded corporations.

        2.       SPC Cotai Investment, LLC owns 78% of the membership units in New Cotai

Ventures, LLC.



1
        The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
        numbers, are as follows: New Cotai Holdings, LLC (3056); New Cotai, LLC (2582); New Cotai Capital
        Corp. (3641); New Cotai Ventures, LLC (9385). The Debtors’ corporate address is c/o New Cotai, LLC,
        Two Greenwich Plaza, Greenwich, Connecticut 06830.
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       3.     New Cotai Ventures, LLC owns 92.6% of the common units and 98.8% of the

class preferred A units in New Cotai Holdings, LLC.

       4.     New Cotai Holdings, LLC owns 100% of the interests in New Cotai, LLC.

       5.     New Cotai, LLC owns 100% of the shares in New Cotai Capital Corp.




                                              2
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  Fill in this information to identify the case:

  Debtor name                New Cotai Holdings, LLC, et al.

  United States Bankruptcy Court for the:          Southern     District of New York
                                                                             (State)                                  Check if this
                                                                                                                 is an amended
                                                                                                                 filing
  Case number (If known):


  Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Declaration and signature

     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.

     I have examined the information in the documents checked below and I have a reasonable belief that the information
     is true and correct:

                Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                Schedule H: Codebtors (Official Form 206H)

                Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                Amended Schedule

                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
                Insiders (Official Form 204)

                Other document that requires a declaration Consolidated Corporate Ownership Statement                   .

     I declare under penalty of perjury that the foregoing is true and correct.

     Executed on May 1, 2019                                   x /s/ David Reganato
                                                               Signature of individual signing on behalf of debtor

                                                                  David Reganato
                                                               Printed name
                                                                 Authorized Signatory
                                                               Position or relationship to debtor
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                                  United States Bankruptcy Court
                                   Southern District of New York

In re: New Cotai Ventures, LLC                                                    Case No.
                                             Debtor(s)
                                                                                  Chapter       11

                              LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtors’ equity security holders which is prepared in accordance with rule 1007(a)(3) of
the Federal Rules of Bankruptcy Procedure for filing in this Chapter 11 Case.


   Name and last known address or place of business of holder                 Number/Percentage of Securities
SPC Cotai Investments, LLC                                                  78% of membership units
Two Greenwich Plaza, First Floor
Greenwich, CT 06830

OCM Opportunities New Cotai, Ltd.                                           7.3333% of membership units
c/o Oaktree Capital Management, LP
333 South Grand Avenue, 28th Floor
Los Angeles, CA 90071

OCM APO New Cotai, Ltd.                                                     7.3333% of membership units
c/o Oaktree Capital Management, LP
333 South Grand Avenue, 28th Floor
Los Angeles, CA 90071

OCM Opps Macau Holdings, LLC                                                7.3333% of membership units
c/o Oaktree Capital Management, LP
333 South Grand Avenue, 28th Floor
Los Angeles, CA 90071
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                                                                                               Third Parties




                                                                                               New Cotai
                Third Parties                                                                 Ventures, LLC
                                                                                                 (New York)




                                       100%
                New Cotai              Class A
             Participation Corp.
                      (BVI)
7.4% Common Units
1.2% Class Pref A Units
                                                                           Managing Member
                                                                           92.6% Common Units
                                                  New Cotai                98.8% Class Pref A Units
                                                 Holdings, LLC
                                                   (Delaware)
                                                          100%
                                                          Sole Member

                                               New Cotai, LLC*
                                                   (Delaware)

               100%                                      23.07%
                                                         Voting Interest
        New Cotai Capital Corp.*                                                      Third Parties
                      (BVI)                                                                                           Legend


                                                                                                                      Filing Entity
                                           Studio City International
                                                Holdings Ltd.                                                         Non-Filing Entity
                                                   (Cayman)
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                                        /s/ David Reganato
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